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 1                                IN THE UNITED STATES DISTRICT COURT

 2                                 FOR THE DISTRICT OF NEW MEXICO

 3

 4       LISA A. KENNICOTT, et al.,

 5                 Plaintiffs,

 6                 VS.                               NO. CV 17-0188 JB/GJF

 7       SANDIA CORPORATION,

 8                 Defendant.

 9

10

11            Transcript of Motion Proceedings before
         The Honorable James O. Browning, United States
12       District Judge, Albuquerque, Bernalillo County,
         New Mexico, commencing on January 19, 2018.
13

14       For the Plaintiffs (Via telephone):                Ms. Anne Shaver;
         Ms. Kelly Dermody; Mr. David Lopez
15
         For the Defendant: Mr. Scott Gordon; Ms. Krissy
16       Katzenstein; Ms. Cindy Lovato-Farmer

17

18

19
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24 l

25
                                        Exhibit A
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 1                               THE COURT:    Good morning everyone.     I

 2       appreciate everyone making themselves available to me

 3       this morning.

 4                               All right.    The court will call Lisa A.

 5       Kennicott, et al.                versus Sandia Corporation, case

 6       No. 1:17-CV-0188 JB/GJF.

 7                               If counsel will enter their appearances for

 8       the plaintiffs.

 9                               MS. SHAVER:    Good morning, Your Honor.

10       This is Anne Shaver from Lieff, Cabraser, Heimann &

11       Bernstein for the plaintiff.                  And with me on the line

12       is my partner, Kelly Dermody, and our co-counsel

13       David Lopez of Outten & Golden.

14                               THE COURT:    All right.   Ms. Shaver,

15       Ms. Dermody, and Mr. Lopez, good morning to you.

16                               And for the defendant.

17                               MR. GORDON:    Yes, Your Honor.   Here for

18       Sandia, I'm Scott Gordon of the Rodey Law Firm.                         Also

19       with me today is Krissy Katzenstein from the Morgan

20       Lewis firm, also representing Sandia, and Cindy

21       Lovato-Farmer, in-house counsel for Sandia.

22                               THE COURT:    All right.   Mr. Gordon, Ms.

23       Katzenstein, Ms. Lovato-Farmer, good morning to you.

24 l                             Well, two things:    One, there was a

25       question, I think, Ms. Shaver asked yesterday about

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 1       discovery disputes.                I did go down -- or go up to my

 2       chambers after I was done yesterday, and called Judge

 3       Fouratt, and asked him how he would like to handle

 4       it.       And he says what he would prefer is that, if

 5       there is a discovery dispute, obviously, y'all talk

 6       about it; but then one side send an email to him

 7       indicating what the dispute is, and the other side

 8       then respond briefly on both of them.                And then

 9       he'll, I think, set up some sort of telephone

10       conference.                I'm sure that his rule is probably the

11       same as mine; that, if you feel like you need to

12       brief something, you're welcome to do it.                  But that

13       would be his preference.                So I pass that on to you.

14                               Let me give you a few thoughts about the

15       motion that we're going to discuss today.                  I guess I

16       was surprised that Sandia and the plaintiffs -- but

17       particularly Sandia -- were agreeing as to what the

18       standard here is.                And I'm looking for it.    I think

19       both of you put it in your brief that it's this

20       Eastern District of Texas -- I guess Western District

21       Texas, this Camargo case from the Western District

22       that, "For federal enclave doctrine to apply, in

23       employment discrimination cases, the adverse

24 l     employment decision must have been made on federal

25       territory, because the locus of decisionmaking is

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 1       where such a tort arises."                I have not studied that

 2       case.         There may be a host of Supreme Court and

 3       Circuit Court cases that say that's clear, and that

 4       was the reason everybody chose to cite a district

 5       court case.                But I guess I was a little bit surprised

 6       by that.

 7                               If you had just asked me what I thought

 8       probably the law was for torts, it would be where the

 9       damage, injury occurred, and where the employees

10       worked, in an employment case.                So it would be much

11       like analogizing it to a choice of law, is that you

12       don't look to necessarily where the decision was

13       made; you would look at where the injury occurred.

14                               And so, particularly in New Mexico, being a

15       Restatement 1 situation, you would look at where the

16       injury occurred.                And it seemed to me in an

17       employment case it would be where the employee is

18       housed.            And so that would be what would govern is

19       where does the employee work?                Where did the injury

20       occur?

21                               Now, when I look at this case from Texas, I

22       don't know if there is something peculiar about the

23       choice of law provisions in Texas, or whatever the

24 l     law was that they were evaluating.                But when they say

25       the locus of decisionmaking is where such a tort

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 1       arises, I'm not sure that would be true for New

 2       Mexico law.                And I think it would be where the injury

 3       occurred.                And I think, even if you did a restatement

 4       second analysis choice of law -- and choice of law

 5       may not be an appropriate analogy, or may not be

 6       directly applicable but I think it's a useful

 7       analysis -- I think you still would end up with where

 8       the employee is.

 9                               So I guess I'm surprised, not so much that

10       the plaintiffs are arguing for this case and this

11       law, but I guess I'm a little surprised Sandia

12       readily agrees to it.

13                               And then, secondly, it seems to me that,

14       looking fairly at the evidence that's been presented,

15       it seems to me decisions are made off the federal

16       enclave, and they're made on the federal enclave.

17       They're made all over the place.                And so it may not

18       be easily determined exactly where a particular

19       decision is made.                You may have some employees that

20       we can definitively say the decision as to that

21       employee was made on the enclave.                And then others,

22       may have been that some decisions, at least, were

23       made that affected that employee off the enclave.                     So

24 l     you end up with things being done on the enclave and

25       not on the enclave.                It's not a clear-cut issue

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 1       jurisdictional issue, then I think I can engage in

 2       some fact-finding.                   Or is this a substantive law

 3       issue that is more in the nature of a motion for

 4       summary judgment, and I have to leave all the factual

 5       disputes for trial, if they're material.

 6                               So I think I've got a fair amount of work

 7       to do on this.                And it's not postured kind of easily

 8       to probably get an opinion out to you just promptly,

 9       particularly given that I'm heading down to Las

10       Cruces for a two-month trial starting on Monday, and

11       then -- a week from Monday, and then come right out

12       of it and start another one down there.                    So it may

13       take a while for me to look at these issues and get

14       an opinion to you.                   But I'll try to get it as soon as

15       possible.

16                               All right.    Is there anything else we need

17       to discuss while we're together?                    Anything else I can

18       do for you?                Ms. Shaver?

19                               MS. SHAVER:    No, Your Honor.    Thank you.

20                               THE COURT:    Mr. Gordon?

21                               MR. GORDON:    Just one idea, Judge:    If Your

22       Honor wants us to posture it better, we could submit

23       post-hearing briefs analyzing it in terms of the

24 l     jurisdictional issue, if there is one, Rule 56, and

25       whatever else the Court thinks is helpful.

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 1                               THE COURT:    Well, I won't certainly turn

 2       down any additional thoughts you have about the

 3       issues.            So I certainly won't shut the door.            I don't

 4       think that it probably makes a lot of sense for us to

 5       spend a whole bunch more time trying to reconstruct

 6       things.            I probably just need to sit down and draft

 7       some opinion.                But I certainly won't -- if you have

 8       additional thoughts -- shut the door to it.

 9                               But I am correct:    You are consenting to

10       convert this to a motion for summary judgment, if I

11       decide that that's the appropriate way?

12                               MR. GORDON:    Yes, sir.

13                               THE COURT:    All right.

14                               MS. SHAVER:    Yes, Your Honor.

15                               THE COURT:    All right.   I appreciate

16       y'all's presentations.                  Be a little patient with me

17       as I try to get through these series of two-month

18       trials.            So I'll try to get something to you as soon

19       as possible.                But be a little bit patient with me, if

20       these things go.                It's kind of hard to get a lot of

21       other things done during that period of time.

22                               All right.    Y'all have a good weekend.

23       Thank you for your presentations.

24 l                             (The Court was adjourned.)

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